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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 SECURITIES AND EXCHANGE COMMISSION,                        §
                                                            §
        Plaintiff,                                          §
                                                            §
 V.                                                         §       Case No. 6:23-cv-00321
                                                            §
 ROY W. HILL, ERIC N. SHELLY,                               §
 CLEAN ENERGY TECHNOLOGY                                    §
 ASSOCIATION, INC., and                                     §
 FREEDOM IMPACT CONSULTING, LLC,                            §
                                                            §
        Defendants.                                         §
                                                            §

                           RECEIVER’S PRELIMINARY REPORT

       Receiver Albert C. Black III provides this preliminary report, respectfully stating:

                                            Introduction

       1.      On May 3, 2023, the Court entered its Order Appointing Receiver (Doc. 8).

       2.      Since the entry of the order, the Receiver has been working to execute the duties

the Court has assigned to the Receiver. Thus far, inquiries from over two hundred investors have

been received. Although the initial report of the Receiver is not due until June 2, 2023, the

Receiver makes this preliminary report in the interest of advising all interested parties of the status

of the work of the Receiver and the preliminary results of his investigation.

                                        Roles of the Parties

       3.      Roy W. Hill (“Hill”) is the principal party in control of Clean Energy Technology

Association, Inc. (“CETA”).

       4.      Eric N. Shelly (“Shelly”) is the principal party in control of Freedom Impact

Consulting, LLC (“FIC”).




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        5.      CETA was a relatively small operation from 2009 to 2019, but then Shelly became

involved in promoting CETA and the fundraising expanded exponentially. One of the main

catalysts was the introduction of supposed tax benefits for investors. Another was the promotion

of the CETA investments by members of various networks of which Shelly was a part.

                                              CETA

        6.      Immediately after his appointment, the Receiver, his counsel, and members of his

team went to the CETA office, which is located in three adjacent storefronts on the main street of

Fairfield, Texas.

        7.      In the course of that day and those that immediately followed, the Receiver, his

counsel, and members of his team were able to review the books and records of the company,

interview numerous employees, inspect the company’s two industrial yards in Fairfield and

Streetman, Texas, interview suppliers, obtain and review bank records, interview promoters and

investors, review marketing materials, review investor files, review the company’s accounting

system, review the company’s server, review information on personal phones, and undertake other

investigative efforts.

        8.      Based upon this work, the Receiver does not believe CETA actually generated

revenues from oil and gas operations, but was instead entirely dependent upon investor funds for

its existence. While there are numerous facts leading to this conclusion, following are a few.

             a. The company’s accounting system was set up so that the revenue subaccount was

                linked to the cash account. The cash account was funded entirely from investor

                funds. Distributions to investors were drawn from the cash account. The Director

                of Accounting was not aware of any outside revenue, and, in fact, indicated she did

                not set up the subaccounts and did not create contemporaneous financials for the




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          company; rather, she just received investor funds, paid various expenses, and paid

          returns from investor funds.

       b. The company’s records reflect only the same Exxon letter agreement provided to

          the Court by the SEC (which did not pertain to oil and gas production). There is a

          draft of a second agreement, but no signed copy of that second agreement has been

          found. No other, similar agreements were found with oil and gas production

          companies.

       c. No record was found of a revenue payment from an oil and gas company. No

          employee could identify any such payment.

       d. The equipment was demonstrative. No record was found of the installation of any

          carbon capture units at any well. Only demonstration models of the carbon capture

          units have been found. None of the employees were aware of the actual installation

          of carbon capture units at a well site anywhere. The manufacturer of the carbon

          capture units stated only 47 were ever manufactured, and all were sent to the

          company’s own yards at Fairfield or Streetman.         This is inconsistent with

          investment contracts reflecting over 85 carbon capture units were purchased and

          were generating revenues at well sites. This is also inconsistent with the investor

          payments that were supposedly derived from oil and gas production, and the

          production of the CETA solvent, at well sites using this equipment. Based upon

          inspections and employee reports, the Receiver believes all of the carbon capture

          units are located on company property or with company employees; in other words,

          not at well sites. Similarly, the coal distillation units are located on company

          property and employees report they have only been operated on a test basis.




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             e. The records and the principal supplier indicate the costs of the equipment was far

                less than the amounts represented to investors.

             f. The only person who is the source of the revenue statistics is Mr. Hill. He provided

                hand-written notes for CETA employees to create one-page statements reflecting

                supposed revenues.

             g. A note found in Mr. Hill’s desk provided the February account balances of the

                intermediate accounts through which investor funds flowed to the company. The

                company itself did not have onsite records of the intermediate accounts.

       9.       The extent of the investor loss will be difficult to determine. The company did not

keep orderly investor files, and the inbound investor funds were funneled through dozens of

accounts. The Receiver and his counsel have received investor documents from many investors.

The Receiver will be establishing a web page for further investor submissions. It will be some

time before these materials can be compiled into a correct investor schedule.

       10.      The investor loss will not be total. The bank records so far indicate fundraising of

approximately $150 million In the past ten days, over $60 million has already been frozen in

various accounts.

       11.      The investor losses will include losses of tax benefits. The tax benefits were

premised upon oil and gas equipment actually being installed at well sites. There were also

supposed matching loans in many cases that increased the amount of the equipment supposedly

purchased and thus the amount of the depreciation investors were told they could claim. On the

other hand, the adverse tax impact will be somewhat mitigated. Investors were told to claim

phantom income. Investors were told the returns they received were the result of production and




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therefore also income, when, in fact, they were merely a return of invested capital. This will likely

be the type of case for which the Internal Revenue Service permits a theft loss to be claimed.

                                                  FIC

       12.     Shelly presently appears to have been the largest promoter of CETA.               The

receivership includes a freeze on his personal assets. The assets are significant, and will be

reported in more detail in the Receiver’s initial report. The Receiver has been actively working to

implement the Court’s asset freeze.

                                   Response of Hill and Shelly

       13.     Both Hill and Shelly have submitted Fifth Amendment statements. Both have

agreed to the entry of preliminary injunctions.

                                                        Respectfully submitted,


                                                        /s/ Dennis Roossien
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                                                        COUNSEL FOR PLAINTIFFS



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of May, 2023, a true and correct copy of the foregoing
instrument was served electronically in compliance with the Court’s Electronic Filing Procedures
on all counsel of record who are deemed to have consented to electronic service.

                                                            /s/ Dennis Roossien




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